          Case 3:23-cv-03417-VC Document 145 Filed 09/12/24 Page 1 of 7




September 12, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey et al. v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC-TSH
       Motion to Compel re: Communications with Third Parties Regarding the Discord
       Posts, Meta’s Privileged Information, or Plaintiffs’ Claims Against Meta

Dear Magistrate Judge Hixson:
Further to the matters discussed at the September 9 hearing, the parties respectfully submit this
letter brief regarding Plaintiffs’ responses to Defendant Meta Platforms, Inc.’s (“Meta”) First and
Second Sets of Requests for Production of Documents (“RFPs”) (attached as Exhibits A and B).
These requests relate to Plaintiffs’ communications with third parties regarding the Discord posts,
Meta’s privileged communications, and, separate but relatedly, regarding Plaintiffs’ claims against
Meta. The parties met and conferred most recently on September 4, 2024.
I.     DEFENDANT’S POSITION
Meta’s First Set of RFPs, served January 9, 2024 (and as to Ms. TerKeurst, served May 20, 2024),
request production of all documents concerning or reflecting (1) the Discord posts containing
Meta’s privileged communications, and (2) how Plaintiffs obtained those communications (RFP
21; see also RFPs 3 and 5). Meta thereafter requested all of Plaintiffs’ communications with Mr.
Heldrup (the Danish activist who provided the Discord posts to Plaintiffs) and other third parties
about Meta’s AI platforms (see RFPs 31 and 36).
Until this Court’s recent intervention regarding the Discord posts, Plaintiffs produced no
documents in response to these RFPs. Nor did Plaintiffs state what if any responsive documents
they had (leaving Meta to guess what if any documents they were withholding) or provide a
privilege log claiming work product protection over any such documents. Rather, they simply
included privilege among their boilerplate objections. And, even now, Plaintiffs have not
identified or itemized the withheld documents.
After Plaintiffs publicly disseminated Meta’s privileged information in the First Consolidated
Amended Complaint they filed in December 2023, Meta sought return of its privileged information
and communications about that privileged information. In a February 2024 email exchange
(attached as Ex. D), Plaintiffs claimed for the first time that they were withholding these materials
(including the Discord posts) based on an unspecified claim of “work product,” but never specified
the nature of any such claim until this briefing, despite Meta’s request that they do so.
In its August 22, 2024 Order, the Court required Plaintiffs to return to Meta the Dettmers-related
documents that reflect or include Meta’s privileged information. (Dkt. 114.) Plaintiffs initially
refused, but after Meta asked the Court for an informal discovery conference, Plaintiffs produced
          Case 3:23-cv-03417-VC Document 145 Filed 09/12/24 Page 2 of 7

Honorable Thomas S. Hixson
September 12, 2024
Page 2

the Discord screenshots on September 5. This production confirmed that Plaintiffs possessed the
full set of Discord posts and had been improperly withholding them from Meta for months.
Also included in Plaintiffs’ September 5 production was one email between Plaintiffs’ counsel,
Matt Butterick, and Mr. Heldrup. (Puzzlingly, Plaintiffs are continuing to seek work product
protection over this email despite providing it to Meta.) Given Mr. Heldrup’s public admission
that he provided the Discord posts to Plaintiffs, and his public statements about the posts amidst
the parties’ privilege dispute, Meta has suspected that Plaintiffs’ counsel were in communication
and coordination with Mr. Heldrup regarding this matter—as Meta explained at the August 21
hearing, which was undisputed by Plaintiffs’ counsel. The email produced by Plaintiffs on
September 5 (attached as Exhibit C, under seal) confirms these suspicions, and it also corroborates
Meta’s belief that there are other communications between Plaintiffs’ counsel and Mr. Heldrup.
Indeed, the email produced by Plaintiffs shows on its face that it was in response to Mr. Butterick’s
email inquiring about “Books3”—a third-party dataset at the core of Plaintiffs’ lawsuit.1
Below, Plaintiffs confirm there are additional, relevant communications—suggesting also that
there are further communications with Mr. Heldrup—but refuse to produce them.
Communications Regarding the Discord Posts and Meta’s Privileged Information. Plaintiffs
refuse to produce the communications between Mr. Heldrup and Plaintiffs based on claims of
irrelevance and work product. Both objections are meritless. The Heldrup communications are
relevant, among other things, to Plaintiffs’ acquisition of Meta’s privileged information and their
connection to the dissemination thereof. Plaintiffs have argued, and continue to argue in their Rule
72(a) motion, that Meta has waived privilege in part due to Mr. Heldrup’s dissemination of the
materials at issue.2 In fairness, Plaintiffs cannot on the one hand cite Mr. Heldrup’s dissemination
of Meta’s privileged material as a basis for a waiver, but on the other hand, refuse to provide Meta
with their) communications with Mr. Heldrup regarding the privileged material.
Last night, Plaintiffs belatedly argued that the work product doctrine protects their relevant
correspondence with Mr. Heldrup and others. This new argument fails, for multiple reasons.
First, the Court should rule that Plaintiffs have waived the ability to assert work product privilege
as a basis for withholding by failing to timely identify the responsive, withheld documents and
describing the basis for their withholding. See Sherman v. Regents of Univ. of Cal., 2022 WL
875652, at *3 (N.D. Cal. Mar. 24, 2022) (citing Burlington N. & Santa Fe Ry. Co. v. U.S. Dist. Ct.
for Dist. of Mont., 408 F.3d 1142, 1149 (9th Cir. 2005)).
Second, any communications from Mr. Heldrup cannot be Plaintiffs’ counsel’s work product. See
In re JDS Uniphase Corp. Sec. Litig., 2005 WL 6296194, at *2 (N.D. Cal. Sept. 23, 2005).


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  Unlike Meta’s well-founded concern about the continued dissemination of their privileged
material, Plaintiffs baselessly speculate that the removal of the Discord posts from the EleutherAI
server in August 2023, see Dkt. 105 at 3—months prior to Meta have any knowledge of the posts—
was “possible deliberate spoliation.” There is no basis for this inflammatory contention.
2
  See Dkt. 104 (Plaintiffs’ June 28, 2024 letter brief (sealed), arguing that “the Subject
Communications were disseminated far and wide,” and referencing his post).; Dkt. 125 at 7
(arguing that Meta’s privileged information “remain[s] accessible to anyone in the world with
Internet access” as a result of those posts.)
          Case 3:23-cv-03417-VC Document 145 Filed 09/12/24 Page 3 of 7

Honorable Thomas S. Hixson
September 12, 2024
Page 3

Third, Plaintiffs have not substantiated that any of their own withheld communications are work
product, let alone “opinion” versus “fact” work product. The withheld documents should be
produced in camera so that the Court can consider if the material at issue is in fact work product.
See Landmark Screens, LLC v. Morgan, Lewis & Bockius LLP, 2009 WL 3415375, at *6 (N.D.
Cal. Oct. 21, 2009), objections overruled, 2009 WL 4981156 (N.D. Cal. Dec. 15, 2009).
Fourth, even if the communications contain Plaintiffs’ work product, they have waived its
protection, for two independent reasons: (1) Plaintiffs did not take reasonable steps to maintain
confidentiality, but rather provided the material to Mr. Heldrup without any apparent expectation
of confidentiality, and he thereafter has repeatedly posted about the subject of the “work product”
on his public LinkedIn site, see United States v. Sanmina Corp., 968 F.3d 1107, 1121 (9th Cir.
2020); and (2) the communications involve Plaintiffs’ coordination with a third-party to obtain use
Meta’s privileged information (rather than simply identify and return that material to Meta, as
counsel should have done), and equity and fairness require that the material be provided to Meta
to allow it to defend against Plaintiffs’ argument of voluntary waiver, see id. at 1122 (explaining
that work-product waiver is a fact-intensive analysis” that “requires a consideration of the totality
of the circumstances and is ultimately guided by the same principle of fundamental fairness that
underlies much of our common law doctrine on waiver by implication”).
Communications Regarding Plaintiffs’ Claims Against Meta. Plaintiffs’ sole claim in this case
is based on the allegation that Meta trained its LLMs on Books3—a dataset that Meta had no role
in creating. RFPs 3, 5, and 36 call for Plaintiffs’ communications with third parties about the
lawsuit against Meta, the subject of which is certain Meta LLMs and use of the Books3 data set.
(See Dkt. 123 ¶ 79; see also ¶¶ 33–47, 63–64, 69, 79 (discussing Books3).) The requested
communications would include any discussion of whether Books3 includes Plaintiffs’ works, as
well as what Plaintiffs’ or their agents told third parties about the relationship between Plaintiffs’
books and the dataset and/or training process. These topics are plainly relevant to the claims in
the operative Complaint. Any unparticularized claim of “work product” cannot shield them.
The Court should order Plaintiffs and their attorneys to search for and produce all documents
responsive to RFPs 3, 5, 21, 31, and 36 as soon as possible and no later than September 18.


 II.   PLAINTIFF’S POSITION
Meta’s Motion is not only a fishing expedition seeking information that is not relevant to any
claim or defense, but also a plain attempt to invade Plaintiffs’ work product.

Meta seeks to fish around in Plaintiffs’ work product communications with non-parties about
certain messages that former Meta employee Tim Dettmers posted and left on a public Discord
channel in late 2020 and early 2021 (the “Dettmers Messages”) that were included in Plaintiffs’
FCAC. Plaintiffs have already returned to Meta the screenshots of the Dettmers Messages that
were provided to Plaintiffs’ counsel in September 2023 by the creator of the screenshots, Danish
author-rights advocate Thomas Heldrup. This fully addresses Meta’s motion and the court’s
order.
          Case 3:23-cv-03417-VC Document 145 Filed 09/12/24 Page 4 of 7

Honorable Thomas S. Hixson
September 12, 2024
Page 4

Furthermore, as has become its custom, Meta’s Motion includes issues the parties did not meet
and confer on, in contravention of this Court’s Discovery Standing Order. Plaintiffs were
surprised when they received a draft of Meta’s Motion on September 11 referring to RFPs 31 and
36. Meta never raised these issues during the parties’ September 4 meet and confer.

In any case, Meta’s Motion fails on the merits:

Meta has not shown the relevance of the material it seeks to compel. Relevance is the
threshold issue on which Meta bears the burden. Meta has failed to carry that burden. Illumina
Inc. v. BGI Genomics Co., No. 20CV01465WHOTSH, 2020 WL 7047708, at *1 (N.D. Cal. Dec.
1, 2020) (“[T]he Court must decide if this discovery is relevant and proportional. Then it must
decide if it is protected by the attorney-client privilege or attorney work product doctrine.”).
According to Meta, Plaintiffs’ work product is relevant solely because it relates to the
dissemination of Meta’s privileged information. This justification does not meet the basic
requirement of relevance: namely, it does not make any fact more or less probable than it would
be without the evidence. See Fed. R. Civ. P. 26(b)(1) (permitting discovery as to facts relevant to
claims or defenses).

As a substitute for relevance, Meta advances an unsupported conspiracy theory. In its
communications with Plaintiffs, Meta has suggested Plaintiffs induced Mr. Heldrup to publicly
distribute the Dettmers Messages while they were under a claim of privilege and failed to
disclose this to the Court. Meta has no support for its accusations, instead suggesting that there
must be a connection because Plaintiffs did not refute it. Plaintiffs denied Meta’s claims in the
meet and confer and reiterated them in its recent Rule 72(a) submission. In lieu of rhetoric,
Plaintiffs also provided Meta with the emails from Heldrup to Plaintiffs. Nevertheless, should the
Court deem it necessary, Plaintiffs will submit the requested opinion-work product for in camera
review to put to bed Meta’s concerns.

The material Meta seeks to compel is opinion work product. Opinion work product
comprises “mental impressions, conclusions, opinions, or legal theories of a party’s attorney ...
concerning the litigation.” Fed. R. Civ. P. 26(b)(3)(B). The material obtained from investigatory
interviews with confidential witnesses is opinion work product. Hatamian v. Adv. Micro Devices,
Inc., 2016 WL 2606830, at *6 (N.D. Cal. May 6, 2016) (explaining that communications
between counsel’s agents and witnesses “who were being contacted for the purposes of
investigating claims to draft the Complaint” were “protected work product.”). As is typical in a
high-profile case like this, Plaintiffs’ attorneys have communicated with a number of
confidential witnesses to develop their claims. Through these communications, Plaintiffs’
counsel came into possession of the Dettmers Messages. All these communications were opinion
work product because they were part of investigatory interviews. See Hatamian, 2016 WL
2606830, at *6 (“[E]mail communications between [the third-party witness] and [counsel] ...
constitute work product and are protected from disclosure.”) (quoting Schoenmann v. Fed.
Deposit Ins. Corp., 7 F. Supp. 3d 1009, 1014 (N.D. Cal. 2014)); Gerber v. Down E. Cmty. Hosp.,
266 F.R.D. 29, 36 (D. Me. 2010) (“When the work product at issue is interview correspondence
for purposes of witness development, that communication is the work product.”)
          Case 3:23-cv-03417-VC Document 145 Filed 09/12/24 Page 5 of 7

Honorable Thomas S. Hixson
September 12, 2024
Page 5

(As a collateral matter, Meta has seemed surprised that Plaintiffs’ counsel would claim work
product protection over communications with Mr. Heldrup given that Plaintiffs’ counsel has no
attorney–client relationship with him. Of course, the work product protection we claim in this
dispute does not arise from Plaintiffs’ counsel’s relationship with Mr. Heldrup (or any other non-
parties), but from Plaintiffs’ counsel’s relationship with our own clients.)

Opinion work product is “virtually undiscoverable.” Republic of Ecuador v. Mackay, 742
F.3d 860, 869 n.3 (9th Cir. 2014). In Hickman v. Taylor, 329 U.S. 495, 509–10 (1947) an
attorney’s notes recording his interviews with witnesses to prelitigation conduct which gave rise
to the litigation were protected from discovery. The Court reasoned that to adequately prepare
for litigation, an attorney must “assemble information, sift what he considers to be the relevant
from the irrelevant facts, prepare his legal theories and plan his strategy without undue and
needless interference.” Id. at 511. Hickman animates the reason why opinion work product is
“virtually undiscoverable”. Mackay, 742 F.3d at 860 n.3. Here, Meta attempts “without
purported necessity or justification” to pierce work product protection in an effort “to secure
written statements…prepared or formed by an adverse party’s counsel in the course of his legal
duties.” Hickman, 329 U.S. at 510. Meta has failed to make the extremely high showing of need
that would justify discovery of this “virtually undiscoverable” material. Mackay, 742 F.3d at 869
n.3; Holmgren v. State Farm Mut. Auto. Ins. Co., 976 F.2d 573, 577 (9th Cir. 1992) (“A party
seeking opinion work product must make a showing beyond the substantial need/undue hardship
test required under Rule 26(b)3) for non-opinion work product”). As a result, Meta is not entitled
to Plaintiffs’ counsel’s opinion work product.

There has been no waiver of the opinion work product. Opinion work product is discoverable
by waiver only where “mental impressions are at issue in a case and the need for the material is
compelling.” United States v. Sanmina Corp., 968 F.3d 1107, 1124–1125 (9th Cir. 2020). Here,
although Plaintiffs quoted portions of the Dettmers Messages in the FCAC, this did not put any
“mental impressions” of Plaintiffs' counsel “at issue.” Nor is there a compelling need. Meta’s
request runs squarely into a request for core work product. Meta avers today for the first time
Plaintiffs’ counsel’s work product protection was waived because they did not serve a privilege
log. That is not the law. See Colibri Heart Valve LLC v. Medtronic CoreValve LLC, No.
820CV00847DOCJDEX, 2021 WL 6882375, at *3 (C.D. Cal. Dec. 6, 2021) (“[W]ork product
developed once the litigation commences are presumptively privileged and need not be included
on any privilege log.”) (internal cites omitted).

To be clear: this dispute has never had anything to do with the behavior of Plaintiffs’ counsel.
Plaintiffs discovered information on a public forum that corroborated Plaintiffs’ allegations that
Meta knowingly used pirated copyrighted material for purposes of training its large language
model. Rather than obtaining permission, Meta stole the protected material. Meta has been
struggling to put the cat back in the bag and now is looking to invade Plaintiffs’ work product.
Meta did a shoddy job of protecting its work product and its response is to try to invade
Plaintiffs’.

Meta’s Motion should be denied.
        Case 3:23-cv-03417-VC Document 145 Filed 09/12/24 Page 6 of 7

Honorable Thomas S. Hixson
September 12, 2024
Page 6


                                        /s/ Joseph R. Saveri
                                        Joseph R. Saveri
                                        Bryan Clobes
                                        David A. Straite
                                        Joseph Saveri Law Firm, LLP
                                        Cafferty Clobes Meriwether & Sprengel
                                        LLP
                                        Ventura Hersey & Muller, LLP
                                        RMP, LLP
                                        DiCello Levitt LLP
                                        Poynter Law Group

                                        Attorneys for Plaintiffs



                                        /s/ Kathleen Hartnett
                                        Bobby Ghajar
                                        Kathleen Hartnett
                                        Cooley LLP

                                        Attorneys for Defendant
          Case 3:23-cv-03417-VC Document 145 Filed 09/12/24 Page 7 of 7




               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.


Dated: September 12, 2024                             COOLEY LLP

                                                      /s/ Kathleen Hartnett
                                                      Kathleen Hartnett

                                                      Attorneys for Defendant
                                                      Meta Platforms, Inc.
